                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 1 of 8


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                                                                               8   LLC; CALIFORNIA PLACE APARTMENTS, LLC;
                                                                                   CANYON CLUB HOLDINGS, LLC; CHESAPEAKE
                                                                               9   APARTMENT HOLDINGS, LLC; COURTYARD AT
                                                                                   CENTRAL PARK APARTMENTS, LLC; CREEKSIDE
                                                                              10   HOLDINGS, LTD; HERITAGE PARK APARTMENTS,
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                                                                                   LP; PEPPERTREE APARTMENT HOLDINGS, LP;
                                                                              11   RIVER OAKS HOLDINGS, LLC; SHADOW WAY
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                                                                                   APARTMENTS, LP; WASATCH ADVANTAGE GROUP,
                                                                              12   LLC; WASATCH PREMIER PROPERTIES, LLC;
                                        A LIMITED LIABILITY PARTNERSHIP




                                                                                   WASATCH QUAIL RUN GP, LLC; WASATCH POOL
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                                                                              13   HOLDINGS, LLC; WASATCH POOL HOLDINGS III,
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                                                                                   LLC
                                                                              14

                                                                              15                               UNITED STATES DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF CALIFORNIA
                                                                              16                                   SACRAMENTO DIVISION
                                                                              17
                                                                                    UNITED STATES OF AMERICA, ex rel.                Case No.: 2:15-CV-00799-KJM-DB
                                                                              18    DENIKA TERRY, ROY HUSKEY III, and
                                                                                    TAMERA LIVINGSTON, and each of them
                                                                              19    for themselves individually, and for all other
                                                                                    persons similarly situated and on behalf of      CLASS ACTION
                                                                              20    the UNITED STATES OF AMERICA
                                                                                                                                      OWNER AND NON-OWNER
                                                                              21                                                      DEFENDANTS’ OPPOSITION TO
                                                                                                           Plaintiffs/Relators,       RELATORS’ REQUEST FOR
                                                                              22                                                      JUDICIAL NOTICE RE TRIAL
                                                                                    v.                                                EXHIBITS (ECF 427)
                                                                              23
                                                                                    WASATCH ADVANTAGE GROUP, LLC,                     Date: July 12, 2024
                                                                              24    WASATCH PROPERTY MANAGEMENT,                      Time: 10:00 AM
                                                                                    INC., WASATCH POOL HOLDINGS, LLC,                 Dept: Courtroom 3, 15th Floor
                                                                              25    CHESAPEAKE APARTMENT HOLDINGS,                    Before: Hon. Kimberly J. Mueller
                                                                                    LLC, LOGAN PARK APARTMENTS, LLC,
                                                                              26    LOGAN PARK APARTMENTS, LP, ASPEN                  Trial Date: July 30, 2024
                                                                                    PARK HOLDINGS, LLC, BELLWOOD
                                                                              27    JERRON HOLDINGS, LLC, BELLWOOD
                                                                                    JERRON APARTMENTS, LP, BENT TREE
                                                                              28    APARTMENTS, LLC, CALIFORNIA PLACE


                                                                                   4889-9243-8218.v1
                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 2 of 8


                                                                               1   APARTMENTS, LLC, CAMELOT LAKES
                                                                                   HOLDINGS, LLC, CANYON CLUB
                                                                               2   HOLDINGS, LLC, COURTYARD AT
                                                                                   CENTRAL PARK APARTMENTS, LLC,
                                                                               3   CREEKSIDE HOLDINGS, LTD, HAYWARD
                                                                                   SENIOR APARTMENTS, LP, HERITAGE
                                                                               4   PARK APARTMENTS, LP, OAK VALLEY
                                                                                   APARTMENTS, LLC, OAK VALLEY
                                                                               5   HOLDINGS, LP, PEPPERTREE
                                                                                   APARTMENT HOLDINGS, LP, PIEDMONT
                                                                               6   APARTMENTS, LP, POINT NATOMAS
                                                                                   APARTMENTS, LLC, POINT NATOMAS
                                                                               7   APARTMENTS, LP, RIVER OAKS
                                                                                   HOLDINGS, LLC, SHADOW WAY
                                                                               8   APARTMENTS, LP, SPRING VILLA
                                                                                   APARTMENTS, LP, SUN VALLEY
                                                                               9   HOLDINGS, LTD, VILLAGE GROVE
                                                                                   APARTMENTS, LP, WASATCH QUAIL
                                                                              10   RUN GP, LLC, WASATCH PREMIER
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                                                                                   PROPERTIES, LLC, WASATCH POOL
                                                                              11   HOLDINGS III, LLC,
                                 2100 PENNSYLVANIA AV ENUE , NW, SUITE 350S




                                                                                   and DOES 1-4,
                                                                              12
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                                                                                                     Defendants.
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                                                                                                                                   ii
                                                                                          OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ REQUEST FOR JUDICIAL NOTICE
                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 3 of 8


                                                                               1            Relators’ Request for Judicial Notice, ECF 427 (“JN Motion”), asks the Court to take judicial

                                                                               2   notice of several documents included in Plaintiffs’ and Relators’ Trial Exhibit List. Defendants

                                                                               3   object to the JN Motion insofar as it seeks to introduce: (1) DOJ press releases; (2) a report from the

                                                                               4   United States Government Accountability Office (“GAO”); and (3) a notice from the Office of the

                                                                               5   Inspector General (“OIG”). Defendants do not object to the Relators’ request regarding the Housing

                                                                               6   Authority Administrative Plans—except with respect to Tr. Ex. 146, which Relators must

                                                                               7   authenticate to admit because it has not been authenticated by deposition testimony or “retrace[ed]”

                                                                               8   to a government website.1 See JN Motion at 2–3.

                                                                               9       I.   Legal Standard

                                                                              10            Federal Rule of Evidence 201(b)(2) allows a court to take judicial notice of a fact if it is “not
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                                                                              11   subject to reasonable dispute” and “can be accurately and readily determined from sources whose
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                                                                              12   accuracy cannot reasonably be questioned.” The fact that the existence of a document may be
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                                                                              13   judicially noticed does not mean, however, that “the truth of the documents’ contents” may be
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                                                                              14   judicially noticed. Hornish v. King Cnty., 899 F.3d 680, 703 (9th Cir. 2018); see also Lee v. City of

                                                                              15   Los Angeles, 250 F.3d 668, 690 (9th Cir. 2001). “Courts cannot take judicial notice of the contents

                                                                              16   of documents for the truth of the matters asserted therein when the facts are disputed.” California

                                                                              17   Sportfishing Prot. All. v. Shiloh Grp., LLC, 268 F. Supp. 3d 1029, 1038 (N.D. Cal. 2017) (collecting

                                                                              18   cases); Figueira by & through Castillo v. Cnty. of Sutter, 2015 WL 6449151, at *8 (E.D. Cal. Oct.

                                                                              19   23, 2015) (noting “judicial notice does not establish the truth of [a] report’s contents”); Gerritsen v.

                                                                              20   Warner Bros. Ent. Inc., 112 F. Supp. 3d 1011, 1027–30 (C.D. Cal. 2015) (“[Plaintiff] clearly seeks

                                                                              21   to have the court take judicial notice of the truth of the facts stated in the various press releases and

                                                                              22   news articles. This the court cannot do.”); LockandLocate, LLC v. Hiscox Ins. Co., 549 F. Supp. 3d

                                                                              23   1093, 1102 (C.D. Cal. 2021) (“[T]he Court cannot take judicial notice of the truth of the statements

                                                                              24   in [an] FCC Press Release.”); Del Puerto Water Dist. v. U.S. Bureau of Reclamation, 271 F. Supp.

                                                                              25   2d 1224, 1234 (E.D. Cal. 2003) (denying judicial notice of press releases).
                                                                              26
                                                                                   1
                                                                                     Defendants reserve the right, however, to introduce additional excerpts from the plans as required
                                                                              27   to provide necessary context or otherwise challenge the admissibility of these excerpts based on
                                                                                   how Relators intend to use them.
                                                                              28
                                                                                                                                      -1-

                                                                                             OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 4 of 8


                                                                               1          In addition, judicial notice is improper when the facts sought to be noticed are inadmissible

                                                                               2   under the Rules of Evidence. See, e.g., Kokesh v. Curlee, 14 F.4th 382, 405 (5th Cir. 2021) (judicial

                                                                               3   notice “improper” where “judicially noticed facts” are not “relevant” under Rule 401 and therefore

                                                                               4   inadmissible); United States v. Mitrovic, 890 F.3d 1217, 1226 & n.8 (11th Cir. 2018) (noting

                                                                               5   “[s]ome courts have refused to take judicial notice when the information fails to satisfy other Rules

                                                                               6   [of Evidence]” and collecting cases). Judicially noticed facts should not be admitted, for example,

                                                                               7   if they are irrelevant under Rule 401 or unfairly prejudicial or misleading under Rule 403. See id.;

                                                                               8   Hamilton v. Willms, 2007 WL 707518, at *8 (E.D. Cal. Mar. 6, 2007) (denying request for judicial

                                                                               9   notice where evidence “not admissible under Rule 404(b) and Rule 403”); Wesco Ins. Co. v. Smart

                                                                              10   Indus. Corp., 469 F. Supp. 3d 1003, 1008 (D. Nev. 2020).
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                                                                              11    II.   Analysis
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                                                                              12          DOJ Press Releases: Relators request judicial notice of DOJ press releases concerning
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                                                                              13   various settlements of FCA claims involving excess rent charged to Section 8 tenants. See JN
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                                                                              14   Motion at 1–2; ECF 427-1 at 40–203. Relators also request that the Court take judicial notice of the

                                                                              15   fact that DOJ “participated . . . in cases involving settlements with or judgments against landlords

                                                                              16   allegedly charging . . . excess rent.” JN Motion at 1.

                                                                              17          Relators’ requests are patently improper. First, they are plainly irrelevant and prejudicial.

                                                                              18   The conduct of non-parties, with whom Defendants have no relationship whatsoever, is completely

                                                                              19   irrelevant under Rule 401 as to whether Defendants violated the False Claims Act. See, e.g.,

                                                                              20   Huddleston v. United States, 485 U.S. 681, 689 (1988) (a party may not “parade past the jury a litany

                                                                              21   of potentially prejudicial similar acts” without substantiated connection to defendant); United States

                                                                              22   v. Beier, 780 F. App'x 460, 463 (9th Cir. 2019) (district court properly refused evidence from

                                                                              23   “unrelated case concerning a different defendant”); United States v. Hougen, 2021 WL 5630680, at

                                                                              24   *7 (N.D. Cal. Dec. 1, 2021), aff’d, 76 F.4th 805 (9th Cir. 2023) (proper to exclude evidence of

                                                                              25   unrelated event involving “different parties and different circumstances”). It is foundational law that
                                                                              26   evidence of other people’s conduct is not relevant to a party’s guilt. See, e.g., United States v.

                                                                              27   McCourt, 925 F.2d 1229, 1235–36 (9th Cir. 1991); United States v. Bradley, 5 F.3d 1317, 1320 (9th

                                                                              28   Cir. 1993). The conduct of other parties is also: (1) minimally probative and highly prejudicial under
                                                                                                                                    -2-
                                                                                            OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ REQUEST FOR JUDICIAL NOTICE
                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 5 of 8


                                                                               1   Rule 403, see Hougen, 2021 WL 5630680 at *7; (2) prohibited under Rule 404(b) as propensity

                                                                               2   evidence,2 see McCourt, 925 F.2d at 1236; and (3) confusing or misleading to the jury under Rule

                                                                               3   403 because it may lead the jury to confuse evidence of Defendants’ actions with evidence of other

                                                                               4   parties’ actions with whom Defendants have no relationship, see Daniels v. AETC II Privatized

                                                                               5   Hous., LLC, 2023 WL 2558135, at *7 (W.D. Tex. Jan. 4, 2023).

                                                                               6          Second, even absent these obvious infirmities, it is not obvious what “fact of consequence”

                                                                               7   is “more or less probable” based on DOJ’s mere “participation” in other actions.3 Fed. R. Civ. P.

                                                                               8   401. DOJ’s “participation” says nothing about what happened, whether any law was violated, or

                                                                               9   what similarities exist vis-à-vis this case—unless, of course, Relators’ request is really a thinly-

                                                                              10   disguised attempt to improperly introduce the content of the press releases to convince the jury
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                                                                              11   Defendants violated the FCA simply because other landlords in other jurisdictions were accused of
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                                                                              12   HAP-related fraud. See Daniels, 2023 WL 2558135 at *7. In any case, unlike in the DOJ press
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                                                                              13   releases, the Government here did not participate in this case and instead declined to intervene—a
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                                                                              14   fact which Relators elsewhere conveniently seek to exclude from the jury’s consideration. (See Pls’

                                                                              15   Mot. in Lim. No. 3, ECF 418.)

                                                                              16          Third, the facts within the press releases cannot be admitted for the truth of the matter

                                                                              17   asserted because they are hearsay statements without any applicable exceptions.4 See In re Tenet

                                                                              18   Healthcare Corp. Sec. Litig., 2007 WL 5673884, at *2 (C.D. Cal. Dec. 5, 2007) (fact of settlement

                                                                              19   within DOJ press release inadmissible hearsay); Adcock v. City of Memphis, 2011 WL 13269785,

                                                                              20   at *1 (W.D. Tenn. Jan. 4, 2011) (similar). The DOJ press releases are out-of-court statements offered

                                                                              21   to prove, according to Relators, the DOJ’s participation in certain cases. The fact of the matter

                                                                              22

                                                                              23   2
                                                                                     In fact, it is worse than the usual evidence prohibited by Rule 404(b) because it relates to the
                                                                              24   propensity of other parties—not the defendant. Of course, even if the DOJ press releases related to
                                                                                   Defendants’ conduct, they would be inadmissible under Rule 404(b) as classic propensity evidence
                                                                              25   introduced to “show that on a particular occasion the person acted in accordance with character.”
                                                                                   Fed. R. Evid. 404(b).
                                                                              26   3
                                                                                     In addition, judicial notice of DOJ’s “participation” is judicial notice of the truth of the contents
                                                                                   of these DOJ press releases, which is improper. Hornish, 899 F.3d at 703.
                                                                              27   4
                                                                                     Settlement information is also unfairly prejudicial under Rule 403 “because a settlement is not a
                                                                              28   reliable indicator of misconduct.” In re Tenet, 2007 WL 5673884 at *2.
                                                                                                                                    -3-
                                                                                            OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ REQUEST FOR JUDICIAL NOTICE
                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 6 of 8


                                                                               1   asserted is the DOJ’s participation and the details of that participation. See In re Tenet, 2007 WL

                                                                               2   5673884 at *2. That is textbook hearsay, and no applicable hearsay exception applies.

                                                                               3           Fourth, many of the press releases relate only to settlement and involve no admission of

                                                                               4   liability. See, e.g., ECF 427-1 at 48, 51 (settlements involved “no determination of liability”).

                                                                               5   Accordingly, these settlements are “irrelevant” under Rule 408, “since the offer may be motivated

                                                                               6   by desire for peace rather than from any concession of weakness of position.” Daniels, 2023 WL

                                                                               7   2558135, at *7 (quoting Hudspeth v. Commissioner, 914 F.2d 1207, 1213 (9th Cir. 1990)).

                                                                               8           Daniels is relevant here. In Daniels, plaintiffs introduced a DOJ press release in their

                                                                               9   opposition to summary judgment. This press release included information about a non-party entity

                                                                              10   that settled allegations similar to those the plaintiffs raised against the defendant. The court struck
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                                                                              11   the press release for several reasons: (1) the DOJ press release was “simply not relevant” because
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                                                                              12   the entity involved was “not a party to this case”; (2) the “announced settlement was without
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                                                                              13   admission of fault” and so could not “establish any facts” related to plaintiffs’ claims; and (3) “[t]o
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                                                                              14   the extent [p]laintiffs attempt to conflate” the defendant with the entity in the DOJ press release,

                                                                              15   “the evidence would be confusing, misleading, and unfairly prejudicial under Rule 403.” 2023 WL

                                                                              16   2558135, at *7; see also United States v. Select Aviation Corp., 2006 WL 2711545, at *3 (E.D.N.Y.

                                                                              17   Sept. 20, 2006) (denying production of government press releases relating to non-parties as

                                                                              18   irrelevant).

                                                                              19           Other Government Documents and Materials: Relators further request the Court take

                                                                              20   judicial notice of a GAO report. See JN Motion at 2–3; ECF 427-1 at 143–97. This report should be

                                                                              21   excluded for much the same reasons above. Most importantly, this report says nothing at all about

                                                                              22   Defendants’ conduct, and thus suffers from the same relevance, prejudice, and confusion flaws as

                                                                              23   the DOJ press releases. See Cross v. Wyeth Pharms., Inc., 2011 WL 2517211, at *7 (M.D. Fla. June

                                                                              24   23, 2011) (excluding GAO report about non-party conduct as irrelevant); In re 3M Combat Arms

                                                                              25   Earplug Prod. Liab. Litig., 2021 WL 848074, at *7 (N.D. Fla. Mar. 7, 2021) (similar and collecting
                                                                              26   cases). In addition, the report itself undermines Relators’ purpose in introducing it: The report is

                                                                              27   titled “Limited Indications of Fraud” (emphasis added) and repeatedly indicates finding “few

                                                                              28   instances of the various fraud types.” See ECF 427-1 at 144; In re 3M, 2021 WL 848074 at *7
                                                                                                                                    -4-
                                                                                             OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ REQUEST FOR JUDICIAL NOTICE
                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 7 of 8


                                                                               1   (excluding GAO reports under Rule 403 because “any probative value . . . substantially outweighed

                                                                               2   by the danger that the jury will be swayed by the Report’s aura of special reliability and

                                                                               3   trustworthiness.” (quotations omitted)). In any case, even if the Court decides to take judicial notice

                                                                               4   of this report, it cannot take judicial notice of the accuracy of its contents. Hornish, 899 F.3d at 703;

                                                                               5   S.A. v. Patterson Joint Unified Sch. Dist., 2010 WL 3069204, at *4 (E.D. Cal. Aug. 2, 2010)

                                                                               6   (“declin[ing] to take judicial notice of the veracity and accuracy of the facts contained within [GAO]

                                                                               7   report”); United States ex rel. Ferris v. Afognak Native Corp., 2017 WL 11675399, at *6 (D. Alaska

                                                                               8   Aug. 11, 2017) (similar).

                                                                               9          Relators also request the Court take judicial notice of a report from the OIG. See JN Motion

                                                                              10   at 3; ECF 427-1 at 205–06. Although the Court may, in the first instance, take judicial notice of this
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                                                                              11   report due to its publication in the Federal Register, see 44 U.S.C. § 1507, the report is still
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                                                                              12   inadmissible under the Rules of Evidence as irrelevant, prejudicial, and confusing—for all the same
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                                                                              13   reasons as noted above. See, e.g., United States v. Wolny, 133 F.3d 758, 765 (10th Cir. 1998)
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                                                                              14   (evidence that must be judicially noticed under § 1507 still excluded as irrelevant). The OIG report

                                                                              15   discusses the potential existence of a “number of landlords” and an unrelated qui tam matter,

                                                                              16   Coleman v. Hernandez, 490 F. Supp. 2d 278 (D. Conn. 2007), but nowhere says anything about the

                                                                              17   Defendants here or their conduct. See ECF 427-1 at 206.

                                                                              18
                                                                                   Date: June 21, 2024                              ARNALL GOLDEN GREGORY LLP
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                                                                              20
                                                                                                                                    By: /s/ Richard T. Collins
                                                                              21                                                        Richard T. Collins
                                                                                                                                        Damon D. Eisenbrey
                                                                              22                                                        Attorneys for Owner and Non-Owner
                                                                                                                                        Defendants:
                                                                              23
                                                                                                                                         ASPEN PARK HOLDINGS, LLC; BENT
                                                                              24                                                         TREE APARTMENTS, LLC; CAMELOT
                                                                                                                                         LAKE HOLDINGS, LLC; CALIFORNIA
                                                                              25                                                         PLACE APARTMENTS, LLC, CANYON
                                                                                                                                         CLUB HOLDINGS, LLC; CHESAPEAKE
                                                                              26                                                         APARTMENT HOLDINGS, LLC;
                                                                                                                                         COURTYARD AT CENTRAL PARK
                                                                              27                                                         APARTMENTS, LLC; CREEKSIDE
                                                                                                                                         HOLDINGS, LTD; HERITAGE PARK
                                                                              28                                                         APARTMENTS, LP; PEPPERTREE
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                                                                                             OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ REQUEST FOR JUDICIAL NOTICE
                                                                                   Case 2:15-cv-00799-KJM-DB Document 466 Filed 06/21/24 Page 8 of 8


                                                                               1                                                     APARTMENT HOLDINGS, LP; RIVER
                                                                                                                                     OAKS HOLDINGS, LLC; SHADOW WAY
                                                                               2                                                     APARTMENTS, LP; WASATCH
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                                                                               3                                                     PREMIER PROPERTIES, LLC; WASATCH
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                                                                                          OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ REQUEST FOR JUDICIAL NOTICE
